                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        Case No. 20-cv-954

FARHAD AZIMA,

       Plaintiff,
                                              CONSENT MOTION TO
       v.                                    EXTEND TIME TO SELECT
                                                  MEDIATOR
NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.


      Pursuant to Rule 6 of the Federal Rules of Civil Procedure and Local

Rule 6.1, Plaintiff Farhad Azima (“Plaintiff”) respectfully requests and moves,

with the consent of Defendants Nicholas Del Rosso and Vital Management

Services, Inc. (“Defendants”; collectively with Plaintiff, the “Parties”), for an

extension of time to select a mediator for this case. In support of this motion,

Plaintiff shows the following:

      1.     Plaintiff filed the complaint against Defendants on October 15,

2020. ECF No. 1.

      2.     On November 16, 2022, the Court entered a scheduling order

stating, among other things, that “[i]f the parties cannot agree on a mediator

within 21 days of this Order, the mediator shall be selected by the Clerk from

the Court’s panel of mediators.” ECF No. 93 at p. 2.
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      3.    The Parties have conferred and are working collaboratively toward

selecting a mediator for this matter but have not yet identified a mediator that

the parties believe would be most effective to assist in resolving the unusual

dispute in this case.

      4.    Counsel for Plaintiff proposed and counsel for Defendants consent

to this request for an additional 30 days to fully vet and agree upon a mediator

for this dispute.

      5.    On December 8, 2022, the Parties received an email from Melisa

Bond, Mediation Coordinator for this Court. Counsel for Plaintiff responded on

the same day to inform Ms. Bond that the Parties working toward selecting a

mediator and that the Parties had agreed to request a 30-day extension of time.

Ms. Bond informed counsel for Plaintiff that she could not extend the deadline

without an Order from the Court.

      6.    Plaintiff thus submits this consent motion for an extension of time

in good faith and for good cause and not for the purpose of delay and requests

that, because this is a consent motion, and the specified basis is set forth

herein, this motion be treated as a memorandum supporting the same as

contemplated by the Local Rules.




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     WHEREFORE, Plaintiff respectfully requests that the Court extend the

deadline for the Parties to select a mediator by thirty (30) days up to and

including January 6, 2023.

     This, the 9th day of December, 2022.

                               WOMBLE BOND DICKINSON (US) LLP

                               /s/ Ripley Rand
                               Ripley Rand
                               North Carolina Bar No. 22275
                               Christopher W. Jones
                               North Carolina Bar No. 27625
                               Jonathon Townsend
                               North Carolina State Bar No. 51751
                               555 Fayetteville Street, Suite 1100
                               Raleigh, North Carolina 27601
                               Phone: 919-755-2100
                               Fax: 919-755-2150
                               Email: ripley.rand@wbd-us.com
                                  chris.jones@wbd-us.com

                               MILLER & CHEVALIER CHARTERED

                               Kirby D. Behre (pro hac vice)
                               Timothy P. O’Toole (pro hac vice)
                               Brian A. Hill (pro hac vice)
                               Ian Herbert (pro hac vice)
                               Calvin Lee (pro hac vice)
                               900 16th Street, NW
                               Washington, D.C. 20006
                               Telephone: (202) 626-5800
                               Fax: (202) 626-5801
                               Email: kbehre@milchev.com

                               Counsel for Plaintiff

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              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        CASE NO. 20-CV-954


FARHAD AZIMA,

      Plaintiff,

      v.
                                            CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.




      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
Notice to the following attorneys:
      Kieran J. Shanahan, Esq.
      Brandon S. Neuman, Esq.
      Jeffrey M. Kelly, Esq.
      Nathaniel J. Pencook, Esq.
      GlenLake One
      4140 Parklake Avenue - Suite 200
      Raleigh, NC 27612
      kieran.shanahan@nelsonmullins.com
      brandon.neuman@nelsonmullins.com
      jeff.kelly@nelsonmullins.com
      nate.pencook@nelsonmullins.com
      Telephone: 919.329.3800
      Facsimile: 919.329.3799


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This, the 9th day of December, 2022.

                              WOMBLE BOND DICKINSON (US)
                              LLP

                              /s/ Ripley Rand
                              Ripley Rand
                              North Carolina State Bar No. 22275
                              555 Fayetteville Street, Suite 1100
                              Raleigh, NC 27601
                              Telephone: (919) 755-8125
                              Facsimile: (919) 755-6752
                              Email:    ripley.rand@wbd-us.com


                              Counsel for Plaintiff




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